       Case 3:94-cr-03012-LC-MD         Document 869        Filed 01/27/09        Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                           CASE NO. 3:94cr3012 LAC

RODNEY BRIDGES

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on July 21, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE            on 7/21/08    Doc.# 812

RESPONSES:
                                               on                     Doc.#
                                               on                     Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it   is   ORDERED    this     27 th   day   of
January, 2009, that:
(a) The relief requested is DENIED.
(b) The defendant was held accountable for 50 kilograms or more of cocaine base.
Pursuant to Amendment 706 to the Sentencing Guidelines, the Drug Quantity Table
at §2D1.1 assigns a base offense level of 38 for 4.5 kilograms or more of cocaine
base. Since the defendant’s base offense level is unchanged, he is not eligible
for any reduction in his sentence of imprisonment.



                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge
Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
